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  In the United States Court of Federal Claims
                         OFFICE OF SPECIAL MASTERS

******************** *
CHESTER GODEK,           *
                         *                   No. 19-106V
             Petitioner, *                   Special Master Christian J. Moran
                         *
v.                       *                   Filed: June 30, 2022
                         *
SECRETARY OF HEALTH      *                   Attorneys’ fees and costs; literature.
AND HUMAN SERVICES,      *
                         *
             Respondent. *
******************** *

LeeAnne Pedrick, Maglio Christopher & Toale, P.A., Washington, DC, for
Petitioner;
James V. Lopez, United States Dep’t of Justice, Washington, DC, for Respondent.

                   UNPUBLISHED DECISION AWARDING
                     ATTORNEYS’ FEES AND COSTS1

      A decision denying compensation for Chester Godek’s claim brought in the
National Childhood Vaccine Compensation Program issued on April 15, 2021. He
is now seeking an award for attorneys’ fees and costs. He is awarded $68,328.44.

                                  *      *     *

      In November 2016, Mr. Godek communicated with the law firm of Maglio,
Christopher & Toale, which began representing him. The first task was to collect

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        The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services), requires that the
Court post this decision on its website. This posting means that the document will
be available to anyone with the internet. Pursuant to Vaccine Rule 18(b), the
parties have 14 days to file a motion proposing redaction of medical information or
other information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions
ordered by the special master will appear in the document posted on the website.
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medical records, which the firm accomplished through paralegals. In June 2017,
an attorney with that firm, Isaiah Kalinowski, began to review the obtained
medical records. Several months passed during which paralegals continued efforts
to obtain medical records. In September and October 2018, Mr. Kalinowski
communicated with a rheumatologist who has sometimes offered opinions that a
vaccine harmed a person, Thomas Zizic. Also, in October 2018, Mr. Kalinowski
researched medical literature for 3.2 hours.

      Represented by Mr. Kalinowski, Mr. Godek alleged that a tetanus-
diphtheria-acellular pertussis (“Tdap”) vaccine caused him to suffer polymyalgia
rheumatica (“PMR”). Pet., filed Jan. 22, 2019. Petitioner periodically filed his
medical records. Over the course of two days in September 2019, Mr. Kalinowski
spent more than 15 hours researching medical literature.

       On January 7, 2020, the parties filed status reports regarding next steps. The
Secretary had completed a review of the record and proposed filing his Rule 4
report in 60 days; Mr. Godek proposed filing an expert report 60 days after the due
date for the Rule 4 report. To facilitate the process for expert reports, the
undersigned issued a proposed set of instructions to guide experts in drafting their
reports. The instructions were issued in their final form on February 7, 2020.

       The Secretary found the evidence insufficient to support Mr. Godek’s claim.
Resp’t’s Rep., filed Mar. 9, 2020. The Secretary maintained compensation was not
appropriate because (1) the medical records alone, without an expert opinion for
support, would not establish a prima facie case, and (2) Mr. Godek’s medical
providers implicated a shingles vaccination rather than the Tdap vaccine. In
response, Mr. Godek stated an intention to file an expert report authored by Dr.
Zizic. In April 2020, Mr. Kalinowski communicated with Dr. Zizic and Mr.
Kalinowski spent a great deal of time searching for medical literature. On April
28, 2020, Mr. Kalinowski sent articles to Dr. Zizic. Dr. Zizic, however, does not
have a corresponding entry in his invoices that he read the articles shortly after Mr.
Kalinowski sent them to him.

      Petitioner filed a set of articles on June 18, 2020. Exhibits 21-61. At the
same time, petitioner was requesting and receiving additional time to file a report
from Dr. Zizic. In June 2020, Dr. Zizic’s invoice shows that he performed less
than one hour of work.

       The instructions for experts suggested that the experts should not cite more
than 20 articles unless the articles were necessary. Given the amount of literature
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filed, the undersigned cautioned that if Dr. Zizic did not cite an article in his report,
petitioner should be prepared to explain why the corresponding exhibit should not
be struck. See Orders, issued June 18, 2020, and Aug. 11, 2020. After multiple
extensions for time through 2020 during the early pandemic period, Mr. Godek
ultimately did not file a report from Dr. Zizic. After some searching, Mr. Godek
and/or Dr. Zizic determined there was insufficient evidence available to explain a
reliable biological mechanism for causation, so Mr. Godek moved for an extended
stay of proceedings to allow the medical science to further develop. Pet’r’s Mot.
filed, Dec. 10, 2020. Supplemental literature was filed in February 2021, but Dr.
Zizic did not submit a report.

       On March 9, 2021, Mr. Godek moved for a ruling on causation and
entitlement, having only furnished medical records and medical literature without
expert support. The case was dismissed for insufficient proof. Decision Denying
Compensation, 2021 WL 1851389 (Fed. Cl. Spec. Mstr. Apr. 15, 2021).

       On June 11, 2021, Mr. Godek filed a motion for an award of attorneys’ fees
and costs. The motion seeks a total of $75,828.44, comprised of $69,588.90 in
attorneys’ fees and $6,239.54 in attorneys’ costs.2 Mr. Godek did not incur any
costs.

       The Secretary filed a response to Mr. Godek’s motion. The Secretary
represented that he “is satisfied the statutory requirements for an award of
attorneys’ fees and costs are met in this case.” Resp’t’s Resp., filed June 14, 2021,
at 2. With respect to amount, the Secretary recommended “that the [special
master] exercise [his] discretion” when determining a reasonable award for
attorneys’ fees and costs. Id. at 3.

       Even though compensation was denied, a petitioner who brings his petition
in good faith and who has a reasonable basis for the petition may be awarded
attorneys’ fees and costs. See 42 U.S.C. § 300aa–15(e)(1). Here, counsel for
petitioner gathered and filed medical records, engaged in settlement discussions,
attempted to obtain an expert report, and moved for a decision on the record when
further investigation revealed that petitioner was unlikely to prove his case. Thus,
because petitioner’s counsel acted in good faith and because there was a reasonable

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        Although petitioner lists $69,588.90 for attorneys’ fees and $6,239.54 for
costs in his motion, counsel requested $75,798.44, rather than $75,828.44.
Presumably this $40 gap was an accounting error.

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basis for proceeding, petitioner is eligible for an award of attorneys’ fees and costs.
Respondent does not contend that petitioner failed to satisfy these criteria.
Respondent’s failure to interpose an objection with respect to reasonable basis
greatly contributes to the finding of reasonable basis. See Greenlaw v. United
States, 554 U.S. 237, 243 (2008) (“[W]e rely on the parties to frame the issues for
decision and assign to courts the role of neutral arbiter of matters the parties
present.”).

      This matter is now ripe for adjudication.

                                    *      *       *

I.    Attorneys’ Fees

       The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Hum. Servs. 515 F.3d 1343, 1348 (Fed. Cir.
2008). First, a court determines an “initial estimate … by ‘multiplying the number
of hours reasonably expended on the litigation times a reasonable hourly rate.’” Id.
at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the
court may make an upward or downward departure from the initial calculation of
the fee award based on specific findings. Id. at 1348. Here, because the lodestar
process yields a reasonable result, no additional adjustments are required. Instead,
the analysis focuses on the elements of the lodestar formula, a reasonable hourly
rate and a reasonable number of hours.

       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Sec’y of Health &
Hum. Servs., 139 Fed. Cl. 238 (2018).

      A.     Reasonable Hourly Rate

       Reasonable hourly rates are determined by looking at the “prevailing market
rate” in the relevant community. See Blum, 465 U.S. at 895. The “prevailing
market rate” is akin to the rate “in the community for similar services by lawyers
of reasonably comparable skill, experience and reputation.” Id. at 895 n.11. A
petitioner’s counsel in the Vaccine Program is paid the forum rate unless the bulk
of the work is performed in a locale other than the forum (District of Columbia)
and the local rate is significantly lower than the forum rate. Avera, 515 F.3d at
1349. If these two requirements are met, the Davis County exception applies, and

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petitioner’s counsel is paid according to the local rate to avoid a “windfall.” Id.;
see Davis Cty. Solid Waste Mgmt. and Energy Recovery Special Serv. Dist. v.
United States Envtl. Prot. Agency, 169 F.3d 755, 757–60 (D.C. Cir. 1999).

       For cases in which forum rates apply, McCulloch provides a framework for
consideration of appropriate ranges for attorneys’ fees based upon the experience
of the practicing attorney. McCulloch v. Sec’y of Health & Hum. Servs., No. 09-
293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1, 2015), mot. for
recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly
Rate Fee Schedules for 2015–2016, 2017, 2018, 2019, 2020, and 2021 can be
accessed online.3

       Mr. Godek requests compensation for attorney Isaiah Kalinowski (and
attorney Altom Maglio, to a lesser extent), as well as paralegals who assisted them.
Mr. Kalinowski has charged $368 per hour in 2018, $383 per hour in 2019, $405
per hour in 2020, and $430 per hour in 2021. Mr. Maglio charged $362 per hour in
2017 and $400 per hour in 2019, for his brief contributions. The paralegal rates
varied over the years, ranging from $135 per hour to $165 per hour. These rates
are reasonable. Puckett v. Sec’y of Health & Hum. Servs., No. 17-1316V, 2020
WL 5407838 (Fed. Cl. Spec. Mstr. Aug. 28, 2020); Brock v. Sec’y of Health &
Hum. Servs., No. 18-399V, 2020 WL 1815766 (Fed. Cl. Spec. Mstr. Mar. 10,
2020).

      B.      Reasonable Number of Hours

      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Hum. Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993). The
Secretary also did not directly challenge any of the requested hours as
unreasonable.

       The attorneys’ and paralegals’ entries generally describe the activities with
sufficient detail that the reasonableness of the work may be assessed. Due to the

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        The 2015–2016, 2017, 2018, 2019, 2020, 2021 and 2022 Fee Schedules
can be accessed at: https://www.uscfc.uscourts.gov/node/2914. The hourly rates
contained within the schedules are updated from the decision in McCulloch, 2015
WL 5634323.

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descriptions in the timesheets and the overall reasonableness of the activities, only
a few adjustments are required.

       First, attorney hours were billed for reviewing and organizing medical
records. These tasks should have been billed at paralegal rates. When an attorney
does the work of a paralegal or administrative assistant, he or she should be paid a
rate commensurate with the nature of the work. See Valdes v. Sec'y of Health &
Hum. Servs., 89 Fed. Cl. 415, 425 (2009) (noting that “the Special Master
exercised appropriate discretion in denying requested costs for work performed by
Petitioner’s counsel’s associate” when the special master determined “that the
associate’s time spent obtaining medical records was more consistent with
paralegal duties.”).

        Second and similarly, paralegals charged for performing clerical tasks such
as filing or organizing medical records. These activities should not be charged at
all. Missouri v. Jenkins, 491 U.S. 274, 288 n.10 (1989); Bennett v. Dep’t of Navy,
699 F.2d 1140, 1145 n.5 (Fed. Cir. 1983); Guy v. Sec'y of Health & Hum. Servs.,
38 Fed. Cl. 403, 407-08 (1997).

      Third, and most significantly, Mr. Kalinowski spent more than 45 hours
researching, reviewing, and annotating medical literature and he billed at his usual
hourly rate. Collectively, the amount billed was approximately $18,000.

       According to Gruber v. Sec’y of Health & Hum. Servs., 91 Fed. Cl. 773,
792-96 (2010), attorneys may contribute to an expert’s preparation of a report. An
attorney’s assistance is appropriate when “a reasonable attorney would perform
such work in similar circumstances.” Id. at 792. However, “it is the expert that is
in the best position to identify the relevant literature.” Hocraffer v. Sec’y of Health
& Hum. Servs., No. 99-533V, 2011 WL 3705153, at *26 (Fed. Cl. Spec. Mstr. July
25, 2011) (finding counsel’s activities were excessive and reducing the amount
requested in fees), mot. for rev. denied, 2011 WL 6292218 (Fed. Cl. Nov. 22,
2011).

       Here, petitioner has not justified the amount of time requested at Mr.
Kalinowski’s hourly rate. Preliminarily, attorneys at most law firms that
commonly represent petitioners in the Vaccine Program do not search for medical
literature to support opinions from experts to the degree that attorneys from
Maglio, Christopher & Toale do. See Saxton v. Sec’y of Health & Human Servs.,
3 F.3d 1517, 1521 (Fed. Cir. 1993) (allowing special masters to rely upon their
experience in adjudicating fee applications). The unusualness of requesting a
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significant amount of compensation for searching for articles does not make the
request unreasonable per se, but the unusualness suggests that some explanation
would be appropriate.

      However, petitioner has not justified Mr. Kalinowski’s extensive search for
medical literature. The lack of explanation appears to have developed in two
respects. First, petitioner did not discuss the circumstances that led to an attorney’s
research on medical topics in his initial fee application. Applications should be
complete when submitted. Duncan v. Sec’y of Health & Hum. Servs., No. 99-
455V, 2008 WL 4743493 (Fed. Cl. 2008) (denying mot. for review).

       In years past, the Secretary might have objected. Currently, the Secretary’s
failure to object to amounts requested cannot be construed as a waiver of any
argument that the amount requested is unreasonable. McIntosh v. Sec’y of Health
& Hum. Servs., 139 Fed. Cl. 238 (2018).

       A second issue is that requesting additional information now would be
unlikely to produce meaningful information. Mr. Kalinowski is no longer counsel
of record, and the current counsel of record would seem not to have any direct
knowledge of Mr. Kalinowski’s work. Mr. Kalinowski submitted an affidavit
without describing reasons for searching for literature. See Fee Exhibit 66. Any
supplemental affidavit now would be created years later.

       Thus, petitioner has not met his burden of showing that all the fees charged
by Mr. Kalinowski for researching medical literature are reasonable. Mr.
Kalinowski is not a medical doctor and Dr. Zizic did not develop any of Mr.
Kalinowski’s research into a report supporting causation. Accordingly, a reduction
of attorneys’ fees for this task is appropriate.

       Finally, the attorney charged for several hours that involved reviewing and
revising the fees invoice. Extensive time revising a fee invoice can be prevented if
the attorneys create accurate time entries initially. Savin v. Sec’y of Health &
Hum. Servs., No. 99-537V, 2008 WL 2066611 (Fed. Cl. Spec. Mstr. Apr. 22,
2008) (special master reducing attorney hours preparing an “uncomplicated” fee
petition from six to four hours), mot. for rev. denied, 85 Fed. Cl. 313 (2008).

       To accomplish rough justice, the undersigned reduces the requested
attorneys’ fees by $7,500. For these reasons, Mr. Godek is awarded $62,088.90 in
attorneys’ fees.

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II.   Costs

       In addition to seeking an award for attorneys’ fees, Mr. Godek seeks
compensation for costs expended, totaling $6,239.54. The costs for routine items,
such as medical records and the filing fee are reasonable. Mr. Godek is awarded
these costs ($1,639.54) in full.

       The balance ($4,600) is for the work of Dr. Zizic. His invoice presents a
reasonable hourly rate ($400 per hour). Sicard v. Sec’y of Health & Hum. Servs.,
No. 16-332V, 2019 WL 6462385 (Fed. Cl. Spec. Mstr. Nov. 4, 2019). Dr. Zizic
has requested compensation for 11.5 hours of work. Of the various tasks, the two
that took the most amount of time are reading a medical chronology and records
(3.15 hours) and researching at Johns Hopkins Medical Library (2.9 hours). Dr.
Zizic also indicates that he spent 0.45 hours reading a particular article by Ray.
Dr. Zizic does not bill for any time spent reading any other articles, including
articles sent to him by Attorney Kalinowski. Nonetheless, overall, Dr. Zizic spent
a reasonable amount of time working on this case.

       For these reasons, Mr. Godek is awarded the amount requested in attorneys’
costs, $6,239.54.

                                     *      *     *

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§15(e). The undersigned finds $68,328.44 ($62,088.90 in fees and $6,239.54 in
costs) to be a reasonable amount for all attorneys’ fees and costs incurred. The
undersigned GRANTS the petitioner’s motion and awards $68,328.44 in attorneys’
fees and costs. This shall be paid as follows:

       A lump sum of $68,328.44 in the form of a check made payable to
petitioner and petitioner’s attorney, Isaiah Kalinowski, of Maglio Christopher
& Toale, P.A., for attorneys’ fees and costs available under 42 U.S.C. § 300aa-
15(e).

       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.4


      4
        Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the
parties’ joint filing of notice renouncing the right to seek review.

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    IT IS SO ORDERED.
                                       S/Christian J. Moran
                                       Christian J. Moran
                                       Special Master




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